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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING
                                                                         1:46 pm, 9/6/24

                                                                       Margaret Botkins
 AMERICAN FARM BUREAU                )     Case No. 1:24-cv-136-ABJ     Clerk of Court
 FEDERATION, et al.,                 )     Honorable Alan B. Johnson
                                     )
 Plaintiffs,                         )
                                     )     MEMORANDUM OF POINTS AND
  v.                                 )     AUTHORITIES IN SUPPORT OF
                                     )     DEFENDANTS’ UNOPPOSED
 U.S. DEPARTMENT OF THE              )     MOTION TO TRANSFER
 INTERIOR, et al.,                   )
                                     )
 Defendants.                         )
 ___________________________________ )
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                                         INTRODUCTION

        Defendants the U.S. Department of the Interior et al. respectfully move this Court to

transfer this case to the U.S. District Court for the District of Utah. This is the third of four cases

challenging the U.S. Bureau of Land Management’s (“BLM”) issuance of the Conservation and

Landscape Health Final Rule, 89 Fed. Reg. 40,308 (May 9, 2024) (the “Rule” or “Public Lands

Rule”). At the time this case was filed, multiple states, including the State of Wyoming, had filed

suits in other venues, namely, the District of Utah and the District of North Dakota.

Subsequently, the State of Alaska filed suit in the District of Alaska. In order to consolidate at

least three of these actions in one court, Defendants previously moved to transfer the case filed in

the District of North Dakota to the District of Utah and now likewise move to transfer this case

to the District of Utah.

        The interests of the Plaintiffs in this case—generally, industry associations—are not

specific to Wyoming. Instead, the Plaintiffs allege interests in federal public land across the West.

Therefore, there is no particular reason this case should be heard in this district, as opposed to

any other federal district court where federal public land is located in the contiguous United

States. In order to avoid burdening multiple courts with addressing similar issues and to avoid

the potential for conflicting judgments, Defendants seek to transfer this case to the District of

Utah where, at minimum, it would be heard alongside the case the State of Wyoming chose to

file in that district.




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                          FACTUAL AND LEGAL BACKGROUND

I.     Public Lands Rule

       BLM promulgated the Public Lands Rule on May 9, 2024, and it became effective on

June 10, 2024. 89 Fed. Reg. at 40,308. BLM manages federal public lands in accordance with the

Federal Land Policy and Management Act (“FLPMA”) under the principles of multiple use and

sustained yield, unless otherwise directed by law. 43 U.S.C. § 1732(a); 89 Fed. Reg. at 40,308.

These principles require BLM to manage public lands for a wide variety of uses, including

conservation where appropriate. See 43 U.S.C. § 1702(c), (h); 89 Fed. Reg. at 40,313-14; New

Mexico ex rel. Richardson v. Bureau of Land Mgmt., 565 F.3d 683, 710 (10th Cir. 2009)

(‘‘Development is a possible use, which BLM must weigh against other possible uses—including

conservation to protect environmental values . . . .’’). BLM’s success as a land manager depends

on the maintenance of functioning, resilient ecosystems. 89 Fed. Reg. at 40,308. To achieve this

objective, the Rule establishes a framework for protecting healthy landscapes, restoring degraded

habitat and ecosystems, and making well-informed decisions based on science and data. Id.

       The Rule does not impose any new regulatory obligations on third parties, affect any

existing authorizations to use the public lands, or otherwise shift the balance of allowable uses.

See id. at 40,333. Instead, the Rule amends BLM’s regulations regarding land use planning, land

health assessments, and the designation of areas of critical environmental concern (“ACEC”),

and it describes a new category of leases for conservation purposes. See 43 C.F.R. subparts 6101-

03; 43 C.F.R. § 1610.7-2 (2024). Among other things, the Rule requires BLM to maintain

inventories of “landscape intactness” 1 as a resource value. 43 C.F.R. § 6102.2(a). Subsequently,


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 “Intact landscape means a relatively unfragmented landscape free of local conditions that could
permanently or significantly disrupt, impair, or degrade the landscape’s composition, structure,
or function. Intact landscapes are large enough to maintain native biological diversity, including
viable populations of wide-ranging species.” 43 C.F.R. § 6101.4(j).
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during the land use planning process, BLM may consider protecting such intact landscapes. Id. §

6102.2(b). The Rule also provides a regulatory framework for BLM to lease land under Title III

of FLPMA for the purpose of conservation, and specifically for either restoration or mitigation.

43 C.F.R. § 6102.4; see also 43 U.S.C. § 1732(b) (authorizing BLM to grant easements, permits,

leases, or licenses for use of the public lands). In addition, the Rule creates a framework for

BLM to establish land health standards, assess the condition of the public lands against those

standards, and take management actions to make progress toward achieving the fundamentals of

land health. See 43 C.F.R. §§ 6103.1-6103.2.

       Finally, the Rule revises the existing land use planning regulations governing the

designation of ACECs. See 43 C.F.R. § 1610.7-2. The ACEC regulations, which have been

included in the planning regulations since 1983, implement FLPMA’s provision that, “[i]n the

development and revision of land use plans, the [BLM] shall . . . give priority to the designation

of areas of critical environmental concern.” 43 U.S.C. § 1712(c)(3); see 48 Fed. Reg. 20,364,

20,375 (May 5, 1983). Among other things, the Rule amends the existing regulations by adding a

third criterion that must be present to designate an ACEC—that, in addition to having

“relevance” and “importance,” the value, resource, system, or process for which the area is

designated must require “special management attention” for its protection. Id. § 1610.7-2(d). The

changes to the ACEC regulations are largely consistent with longstanding BLM policy guidance

that had not been previously codified in BLM’s regulations. See 89 Fed. Reg. at 40,312-13.

II.    Litigation Regarding the Public Lands Rule

       The Public Lands Rule has been challenged in multiple forums. On June 18, the States of

Utah and Wyoming challenged the Rule in the District of Utah. See Compl., Utah v. Haaland,

No. 2:24-CV-438 (D. Utah June 18, 2024), ECF No. 1 (“Utah Compl.”). Plaintiffs in that case

brought two claims alleging that BLM’s reliance on a categorical exclusion in issuing the Rule
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violated the National Environmental Policy Act (“NEPA”). See Utah Compl. ¶¶ 103-55. Those

plaintiffs moved for a preliminary injunction, see Mot. and Mem. in Supp. of Pls.’ Mot. for Stay

Under 5 U.S.C. § 705 or For a Prelim. Inj., Utah v. Haaland, No. 2:24-cv-438 (D. Utah July 11,

2024), ECF No. 18, and that motion is now fully briefed, but the court has not yet scheduled an

argument or issued a decision.

       On June 21, the States of North Dakota, Idaho, and Montana challenged the Rule in the

District of North Dakota. See Compl., N. Dakota v. U.S. Dept. of the Interior, No. 1:24-cv-124-

DMT-CRH (D. N.D. June 21, 2024), ECF No. 1 (“N. Dakota Compl.”). The plaintiffs in that

case asserted violations of NEPA, FLPMA, the Congressional Review Act (“CRA”), the

Administrative Procedure Act (“APA”), and the Mineral Leasing Act (“MLA”). On July 22,

Defendants moved to transfer the case to the District of Utah. See Defs.’ Mot. to Transfer this

Case to the U.S. Dist. Ct. for the Dist. of Utah, North Dakota v. U.S. Dept. of the Interior, No.

1:24-cv-124-DMT-CRH (D. N.D. July 22, 2024), ECF No. 5. That motion remains pending.

       On July 12, the Plaintiffs in this case, the American Farm Bureau Federation et al.,

challenged the Rule in this Court. See Compl., ECF No. 1. Plaintiffs allege violations of

FLPMA, the CRA, NEPA, and the APA.

       On July 24, the State of Alaska filed suit challenging the Rule in the District of Alaska.

See Compl., Alaska v. Haaland, No. 3:24-cv-161 (D. Alaska July 24, 2024), ECF No. 1 (“Alaska

Compl.”). Alaska asserted violations of FLPMA, the major questions doctrine, the Alaska

National Interest Lands Conservation Act (“ANILCA”), and NEPA. See id. ¶¶ 41-123.

                       STANDARD FOR A MOTION TO TRANSFER

        Motions for transfer of venue are governed by 28 U.S.C. § 1404(a), which provides,

“[f]or the convenience of the parties and witnesses, in the interest of justice, a district court may



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transfer any civil action to any other district or division where it might have been brought.”

Under the statute, courts have broad discretion to determine whether transfer from one

jurisdiction to another is appropriate. Texas E. Transmission Corp. v. Marine Office-Appleton &

Cox Corp., 579 F.2d 561, 567 (10th Cir. 1978).

        In evaluating a motion to transfer, a court should follow a two-step analysis. First, the

court determines whether the action could have been brought in the proposed transferee district.

See Cmty. Television of Utah, LLC v. Aero, Inc., 997 F. Supp. 2d 1191, 1205 (D. Utah 2014). In

cases involving federal agencies, venue is appropriate where: “(A) a defendant in the action

resides, (B) a substantial part of the events or omissions giving rise to the claim occurred, or a

substantial part of the property that is the subject of the action is situated, or (C) the plaintiff

resides if no real property is involved in the action.” 28 U.S.C. § 1391(e).

        Second, if venue would be proper in the transferee forum, then the court should evaluate

whether transfer is appropriate based on the convenience of the parties and witnesses and the

interest of justice. See Chrysler Credit Corp. v. County Chrysler, Inc., 928 F.2d 1509 (10th Cir.

1991). The analysis is case specific, and the court should consider:

        the plaintiff’s choice of forum; the accessibility of witnesses and other sources of
        proof, including the availability of compulsory process to insure attendance of
        witnesses; the cost of making the necessary proof; questions as to the
        enforceability of a judgment if one is obtained; relative advantages and obstacles
        to a fair trial; difficulties that may arise from congested dockets; the possibility of
        the existence of questions arising in the area of conflict of laws; the advantage of
        having a local court determine questions of local law; and all other considerations
        of a practical nature that make a trial easy, expeditious and economical.

Id. at 1515; see also Emps. Mt. Cas. Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1167 (10th Cir.

2010). “The ‘interest of justice’ is a separate element of the transfer analysis that relates to the

court system’s efficient administration.” Front Row Tech., LLC v. NBA Media Ventures, LLC,

163 F. Supp. 3d 938, 990 (D. N.M. 2016) (citing Van Dusen v. Barrack, 376 U.S. 612, 626-67


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(1964)). Where related cases are brought in different districts, the interest of justice favors

transfer to promote judicial economy. See Quorum Health Res., LLC v. Lexington Ins. Co., Civ.

No. 11-374-MV/LAM, 2012 WL 769744, at *4 (D. N.M. Mar. 7, 2012).

                                           ARGUMENT

I.     Plaintiffs Could Have Filed Suit in the District of Utah

       The first step to the inquiry is to ask whether the District of Utah would be a proper

venue, and it would be. Under 28 U.S.C. § 1391(e), a civil action against an official or agency of

the United States may be brought in any judicial district in which “a substantial part of the events

or omissions giving rise to the claim occurred, or a substantial part of property that is the subject

of the action is situated.” 28 U.S.C. § 1391(e)(1)(B). The Rule at issue here governs federal

public land across the West. See 89 Fed. Reg. at 40,309 (“The BLM manages approximately 245

million acres of public land . . . .”). Approximately 22.8 million acres of federal public land is in

Utah. Utah Compl. ¶ 9. Accordingly, “a substantial part of property that is the subject of the

action is situated” in Utah, and therefore venue is proper in the District of Utah. 2 28 U.S.C. §

1391(e)(1)(B). Alternatively, under 28 U.S.C. § 1391(e)(C), venue is proper in the District of

Utah based on the residence of at least one of the Plaintiffs, the Garkane Energy Coop. See

https://garkaneenergy.com/ (last visited Aug. 28, 2024) (listing Garkane’s address as: 120 W. 300

S., Loa, UT 84747; see also Decl. of Daniel McClendon on Behalf of Garkane Energy Coop. ¶ 3,

(“Garkane is a member-owned, not-for-profit electric cooperative that provides electrical



2
  Courts routinely consider actions challenging BLM decisions governing public lands to
“involve[ ] real property.” Ctr. for Biological Diversity v. Bureau of Land Mgmt., No. 08-cv-
05646, 2009 WL 1025606, at *3 (N.D. Cal. Apr. 14, 2009); see also S. Utah Wilderness All. v.
Lewis (SUWA II), 845 F. Supp. 2d 231, 232–34 (D.D.C. 2012) (venue proper in Utah for action
challenging BLM’s Resource Management Plan governing management of “several million acres
of public lands located in Utah” because such an action “concerns real property situated in
Utah.”); see also Ferguson v. Lieurance, 565 F. Supp. 1013, 1015 (D. Nev. 1983).
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services across 16,000 square miles in six counties in South-Central Utah and two counties in

North-Central Arizona.”), ECF No. 1 at 138.

II.    Transferring the Case to the District of Utah Would Serve the Interest of Justice

       The interest of justice would be served by transferring this case to the District of Utah. In

evaluating the interest of justice, the Court should consider “the court system’s efficient

administration.” Resource Assoc. Grant Writing & Evaluation Servs., Inc. v. Southampton Union

Free School Dist., 193 F. Supp. 3d 1200, 1227 (D. N.M. 2016) (citing Van Dusen, 376 U.S. at

626-27). “In some circumstances, ‘[t]he interest of justice may be determinative, warranting

transfer or its denial even where the convenience of the parties and witnesses points toward the

opposite result.’” Id. (quoting Research Automation, Inc. v. Schrader-Bridgeport, Int’l, Inc., 626

F.3d 973, 977 (7th Cir. 2010)). This is such a case because allowing two cases challenging the

Rule to proceed separately in two different courts would “lead[] to the wastefulness of time,

energy and money that § 1404(a) was designed to prevent.” Continental Grain Co. v. Barge FBL-

585, 364 U.S. 19, 26 (1960).

       First, transferring this case to the District of Utah would serve judicial economy. Both

this case and the existing Utah case challenge the Public Lands Rule, and both challenge the

Rule under NEPA. See Compl. ¶ 7, 159-70, 181; Utah Compl. ¶ 6, 103-55. Plaintiffs and the

Utah Plaintiffs both argue that BLM’s reliance on a categorical exclusion violated NEPA, and

their grounds for that argument are largely the same. See id. Therefore, there is direct overlap

between the two cases. Moreover, both cases—as cases brought pursuant to the judicial review

provisions of the APA, 5 U.S.C. §§ 701-06—will be decided based on the administrative record

prepared by BLM. See Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743 (1985); see also D.

Wyo. L. Civ. R. 83.6(b). The record for the Rule will be largely the same, if not identical, in the

two cases. If the two cases were to proceed separately, Defendants would need to file the record
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in two different courts and draft and file summary judgment briefs in two different courts. The

interest of judicial economy weighs heavily against such inefficiency. See Quorum Health Res.,

2012 WL 769744, at *4-5 (transferring case to avoid duplicative litigation from proceeding in

two separate courts); Davis v. Dell, Inc., No. CIV-07-1401-W, 2008 WL 11338158, at *6 (W.D.

Ok. Oct. 14, 2008) (transferring case “given the substantially identical judicial proceedings” in

two different districts).

        Second, the interest of justice strongly favors a single court hearing similar claims

regarding the same Rule to avoid the risk of conflicting judgments. See Feller v. Brock, 802 F.2d

722, 727-28 (4th Cir. 1986) (“Prudence requires that whenever possible, coordinate courts should

avoid issuing conflicting orders.”); see also Church of Scientology of Cal. v. U.S. Dep’t of the

Army, 611 F.2d 738, 750 (9th Cir. 1979) (recognizing the need to “avoid the embarrassment of

conflicting judgments”). The potential for conflicting judgment creates a risk that a party may

have “to choose between coordinate courts and to knowingly violate an outstanding court order,”

and thus “run a serious risk of contempt sanctions.” Feller, 802 F.2d at 727 (citations omitted);

see also Ariz. and N. Mexico Coal. of Counties for Econ. Growth v. U.S. Fish and Wildlife Serv.,

Civ. No. 15-125 WJ/WPL, 2015 WL 9917341, at *7 (D.N.M. Apr. 23, 2015) (“[T]he compelling

considerations of judicial efficiency and avoidance of inconsistent judicial results strongly favors

transfer of this case to [another district where a similar case was pending]”). W. Energy All. v.

U.S. Dept. of the Interior, No. 1:16-cv-112, 2016 WL 11889030, at *4 (D.N.D. Dec. 19, 2016)

(“[T]he interests of justice strongly favor a single court hearing similar claims regarding the

same [resource management plan amendments] to avoid the risk of conflicting judgments”).

This risk is heightened in this case because the State of Wyoming is litigating its own case in the

District of Utah—yet, it would necessarily be subject to a ruling in this district that applied



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within the District of Wyoming. Denying transfer would also needlessly contribute to the

congestion of the federal courts. See W. Energy All., 2016 WL 11889030, at *4 (“In choosing to

file in North Dakota, the Plaintiffs contributed to the proliferation of cases challenging the Plan

Amendment in multiple federal courts.”).

       Third, there is no compelling interest in having this case heard in Wyoming. Several of

the entities are national entities, whose interests extend to all federal public lands across the West

or large portions of it. See, e.g., Decl. of Shelby Hagenauer (American Farm Bureau Federation

(“AFBF”)) ¶ 9 (“AFBF’s members rely on federal lands in the American West to operate and

sustain their businesses.”), ECF No. 1 at 59; Decl. of Carolyn L. McIntosh (American

Exploration & Mining Association (“AEMA”)) (asserting an interest in 19 mostly western states

where mining claims may be located, including Utah), ECF No. 1 at 64. Some of the Plaintiffs,

such as the Wyoming Farm Bureau Federation, operate solely within Wyoming. See Decl. of Ken

Hamilton ¶ 3, ECF No. 1 at 106-07. Yet other Plaintiffs or their members, such as the Garkane

Energy Cooperative and the Graham County Electric Cooperative, operate in one or two states

other than Wyoming. See Decl. of Daniel McClendon on Behalf of Garkane Energy Coop. ¶ 3

(electric cooperative operating in Utah and Arizona), ECF No. 1 at 138; Decl. of Thad S. Ballard

on Behalf of Wells Rural Electric Cooperative ¶ 3 (electric cooperative operating in Nevada and

Utah), ECF No. 1 at 143. Given the myriad interests represented in Plaintiffs’ lawsuit, the fact

that some of the various Plaintiffs can claim a connection to Wyoming does not favor litigating

the case in Wyoming, as opposed to Utah. To the contrary, because several Plaintiffs have ties to

both Wyoming and Utah, it only makes sense for them to litigate their case in the District of

Utah, where the States of Wyoming and Utah are already litigating similar claims.




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III.    The Convenience of Parties and Witnesses Is Not a Significant Factor

        The convenience factor does not strongly favor one forum over another because the case

will be resolved, as APA cases generally are, through merits briefing based on the administrative

record. See Fla. Power & Light, 470 U.S. at 743. In such cases, the convenience of the parties

and witnesses is largely irrelevant. WildEarth Guardians v. U.S. Fish & Wildlife Serv., No. 12-

CV-3085-AP, 2013 WL 136204, at *5 (D. Colo. Jan. 9, 2013). Further, both the District of

Wyoming and the District of Utah are in the Tenth Circuit and follow the procedures for briefing

in APA cases set forth in Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1579-80 (10th Cir.

1994); see also D. Wyo. L. Civ. R. 83.6(b); D. Utah L. Civ. R. 7-4(c)-(d). Therefore, it will be no

more burdensome for Plaintiffs to brief their case in the District of Utah than it would be in this

district.

                                          CONCLUSION

        In sum, the interest of justice weighs heavily in favor of transfer. A case challenging the

very same rule, brought by the State of Wyoming, is already being litigated in the District of

Utah. Transferring this case to the same district will serve the interest of justice by promoting

judicial economy and avoiding the potential for conflicting judgments. Therefore, the Court

should grant the motion to transfer.

        Respectfully submitted this 5th day of September 2024,

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